Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 1 of 16 Page ID #:4589



     1 Timothy P. Fox (CA Bar 157750)
       tfox@creeclaw.org
     2 Elizabeth Jordan*
       ejordan@creeclaw.org
     3 CIVIL RIGHTS EDUCATION
       AND ENFORCEMENT CENTER
     4 1245 E. Colfax Avenue, Suite 400
       Denver, CO 80218
     5 Tel: (303) 757-7901
     6 Fax: (303) 872-9072
                                                   Stuart Seaborn (CA Bar 198590)
     7   Veronica Salama*                          sseaborn@dralegal.org
         veronica.salama@splcenter.org             Melissa Riess (CA Bar 295959)
     8   SOUTHERN POVERTY LAW                      mriess@dralegal.org
         CENTER                                    Rosa Lee V. Bichell (CA Bar 331530)
     9   P.O. Box 1287                             rbichell@dralegal.org
         Decatur, GA 30031                         DISABILITY RIGHTS ADVOCATES
    10   Tel: (404) 221-5825                       2001 Center Street, 4th Floor
         Fax: (404) 221-5857                       Berkeley, CA 94704
    11                                             Tel: (510) 665-8644
    12                                             Fax: (510) 665-8511

    13
         Attorneys for Plaintiffs (continued on next page)
    14
                             UNITED STATES DISTRICT COURT
    15                      CENTRAL DISTRICT OF CALIFORNIA
    16                        EASTERN DIVISION – RIVERSIDE

    17   FAOUR ABDALLAH FRAIHAT, et al.,               Case No. 19-cv-01546-JGB(SHKx)
    18                        Plaintiffs,
                       v.                              PLAINTIFFS’ OPPOSITION TO
    19                                                 DEFENDANTS’ MOTION TO
    20   U.S. IMMIGRATION AND CUSTOMS                  STAY DISCOVERY
         ENFORCEMENT, et al.,
    21                                                 Hearing Date: October 19, 2020
                                                       Time: 9:00 A.M.
    22                                                 Honorable Jesus G. Bernal
                              Defendants.
    23
    24
    25
    26
    27
    28
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 2 of 16 Page ID #:4590



     1 William F. Alderman (CA Bar 47381)    Mark Mermelstein (CA Bar 208005)
       walderman@orrick.com                  mmermelstein@orrick.com
     2 Jake Routhier (CA Bar 324452)         ORRICK, HERRINGTON &
       jrouthier@orrick.com                  SUTCLIFFE LLP
     3 ORRICK, HERRINGTON &                  777 South Figueroa Street
       SUTCLIFFE LLP                         Suite 3200
     4 405 Howard Street                     Los Angeles, CA 90017
     5 San Francisco, CA 94105               Tel.: (213) 629-2020
       Tel.: (415) 773-5700                  Fax: (213) 612-2499
     6 Fax: (415) 773-5759
                                             Leigh Coutoumanos*
     7 Michael W. Johnson*                   lcoutoumanos@willkie.com
       mjohnson1@willkie.com                 Timothy Ryan*
     8 Jessica Blanton*                      tryan@willkie.com
       jblanton@willkie.com                  WILLKIE FARR &
     9 Joseph Bretschneider*                 GALLAGHER LLP
       jbretschneider@willkie.com            1875 K Street NW, Suite 100
    10 WILLKIE FARR &                        Washington, DC 20006
    11 GALLAGHER      LLP
       787 Seventh Avenue
                                             Tel.: (202) 303-1000
                                             Fax: (202) 303-2000
    12 New York, NY 10019
       Tel.: (212) 728-8000                  Maria del Pilar Gonzalez Morales
    13 Fax: (212) 728-8111                   (CA Bar 308550)
                                             pgonzalez@creeclaw.org
    14 Benjamin Salk**                       CIVIL RIGHTS EDUCATION
       benjamin.salk@splcenter.org           AND ENFORCEMENT CENTER
    15 SOUTHERN POVERTY LAW                  1825 N. Vermont Avenue, #27916
       CENTER                                Los Angeles, CA 90027
    16 111 E. Capitol Street, Suite 280      Tel.: (805) 813-8896
       Jackson, MS 39201                     Fax: (303) 872-9072
    17 Phone: 601-948-8882
    18 Fax: 601-948-8885                        Lisa Graybill (CA Bar 254540)
                                                graybill@nilc.org
    19 Christina Brandt-Young*                  NATIONAL IMMIGRATION LAW
       cbrandt-young@dralegal.org               CENTER
    20 DISABILITY RIGHTS                        P.O. Box 40476
       ADVOCATES                                Austin, TX 78704
    21 655 Third Avenue, 14th Floor
       New York, NY 10017
    22 Tel.: (212) 644-8644
       Fax: (212) 644-8636
    23
    24 Attorneys for Plaintiffs (continued from previous page)
       *Admitted Pro Hac Vice
    25 **Pro Hac Vice Application Forthcoming
    26
    27
    28



     1
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 3 of 16 Page ID #:4591



     1                                            TABLE OF CONTENTS
     2
                                                                                                                             Page
     3
         I.      Introduction ..................................................................................................... 1
     4
         II.     Background Facts and Proceedings................................................................. 1
     5
     6 III.      Legal Standard ................................................................................................. 4
     7 IV.       Argument ......................................................................................................... 5
     8           A.       The Ninth Circuit Consistently Disfavors Stays of Trial
     9                    Court Proceedings Pending Interlocutory Appeal from
                          Preliminary Injunction Orders .............................................................. 5
    10
    11           B.       A Ruling on Defendants’ Appeal Of The PI And Subclass
                          Certification Orders Will Not Impact The Scope of
    12                    Discovery .............................................................................................. 6
    13           C.       Defendants Have Not Met Any Of The Requirements For
    14                    A Stay Pending Appeal ......................................................................... 8
    15           D.       The Looming Discovery Cut-Off and Defendants’ Delays
    16                    Require Denial of Their Motion for Further Delay ............................ 10

    17 V.        Conclusion ..................................................................................................... 11
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
         Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                                                            i
         Plaintiffs’ Opposition to Defendants’ Motion to Stay Discovery

     1
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 4 of 16 Page ID #:4592



     1                                        TABLE OF AUTHORITIES
         Case                                                                                                       Page
     2
     3 California v. Azar,
             911 F.3d 558 (9th Cir. 2018) ........................................................................... 5
     4
     5 East Bay Sanctuary Covenant v. Trump,
     6       932 F.3d 742 (9th Cir. 2018) ........................................................................... 4

     7 Federal Trade Commission v. Qualcomm Inc.,
     8      935 F.3d 752 (9th Cir. 2019) ........................................................................... 4

     9 Fraihat v. ICE,
    10       No. EDCV 19-1546 JGB, 2020 WL 1932570 (C.D. Cal. Apr. 20, 2020) ...... 2

    11 Global Horizons, Inc. v. U.S. Dept. of Labor,
    12      510 F.3d 1054 (9th Cir. 2007) ......................................................................... 5

    13 Gonzalez v. ICE,
    14      Nos. 20-55175, 20-55252, 2020 WL 5494324 (9th Cir. Sept. 11, 2020) ....... 8

    15 Hernandez Roman v. Wolf,
    16      No. 20-cv-00768, 2020 WL 5683233 (9th Cir. Sept. 23, 2020) ..................... 9

    17 Melendres v. Arpaio,
    18      695 F.3d 990 (9th Cir. 2012) ........................................................................... 5

    19 Microsoft Corp. v. Baker,
    20      137 S. Ct. 1702 (2017) .................................................................................... 8

    21 Nutraceutical Corp. v. Lambert,
    22       139 S. Ct. 710 (2019) ...................................................................................... 8

    23 Sierra Club v. Trump,
    24       929 F.3d 670 (9th Cir. 2019) ........................................................................... 4

    25
    26
    27
    28
         Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                                                 ii
         Plaintiffs’ Opposition to Defendants’ Motion to Stay Discovery

     1
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 5 of 16 Page ID #:4593



     1
                                                 I. INTRODUCTION
     2           Defendants’ belated move to stay all discovery in this case pending a ruling
     3 in their interlocutory appeal from the Court’s preliminary injunction order (“PI
     4 Order”) should be denied. The Ninth Circuit has repeatedly admonished district
     5 courts not to issue such stays, since an appellate ruling on a preliminary injunction
     6 is unlikely to provide guidance on the merits of the ongoing case. That is especially
     7 so here, where the PI Order deals only with COVID-19, and the discovery
     8 Defendants want to delay makes no mention of COVID-19 at all, instead focusing
     9 on the broader case Plaintiffs filed last year.
    10       Moreover, staying discovery would thwart Plaintiffs’ ability to meet the
    11 March 2021 discovery cut-off set by the Court’s scheduling order. With barely five
    12 months remaining for completion of discovery and related motions when this
    13 motion is heard, the case schedule cannot tolerate any delay beyond the relief
    14 already granted by Magistrate Judge Kewalramani on September 9. To the extent
    15 Defendants want to make good on their threat to “oppose the discovery sought” by
    16 Plaintiffs, any blanket refusals to provide proper discovery should be asserted and
    17 dealt with promptly. Defendants’ delays in filing their appeal and in filing this
    18 motion betray their strategy of preventing Plaintiffs from obtaining in a timely
    19 manner the evidence they will need to try this case next August 3. The baseless
    20 motion for a stay should be denied.
    21
                           II. BACKGROUND FACTS AND PROCEEDINGS
    22           This case was filed on August 19, 2019 by 15 individual plaintiffs in ICE
    23 custody in immigration detention facilities and two organizations that provide
    24 services to immigrants and asylum applicants (ECF 1). Plaintiffs allege, on behalf
    25 of themselves and three classes of similarly-situated people in current or future ICE
    26 custody, that defendants have systematically failed to ensure minimum lawful
    27 conditions of confinement at the facilities they or their contractors operate, in
    28

         Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                        1
         Plaintiffs’ Opposition to Defendants’ Motion to Stay Discovery

     1
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 6 of 16 Page ID #:4594



     1 violation of the Due Process Clause and the Rehabilitation Act. The Complaint
     2 details multiple “Challenged Practices,” “Segregation Practices,” and “Disability-
     3 Related Practices” that Defendants have failed to monitor and prevent, all to the
     4 detriment of the physical and mental health and well-being of Plaintiffs and the
     5 classes they represent.
     6           Defendants moved to dismiss, sever or transfer venue on all claims on
     7 November 27, 2019 (ECF 54); the Court denied the motions on April 15, 2020
     8 (ECF 126). While Defendants’ motions were pending, the COVID-19 pandemic hit
     9 the United States. Plaintiffs quickly responded on March 25, 2020 by filing
    10 emergency motions for preliminary injunction and provisional class certification of
    11 two subclasses (ECF 81, 83). After extensive briefing and hearings, the Court
    12 granted both motions on April 20, 2020 (ECF 132, Fraihat v. ICE, No. EDCV 19-
    13 1546 JGB, 2020 WL 1932570 (C.D. Cal. Apr. 20, 2020); ECF 133).
    14           The April 20 orders (1) provisionally certified two subclasses, consisting of
    15 all people detained in ICE custody who have one or more of enumerated Risk
    16 Factors (subclass one) or one of more of enumerated disabilities (subclass two) that
    17 place them at heightened risk of severe illness and death upon contracting the
    18 COVID-19 virus (ECF 133); and (2) preliminarily enjoined Defendants to take
    19 seven specific steps to protect subclass members for “as long as COVID-19 poses a
    20 substantial threat of harm” (ECF 132 at 38-39).
    21           Four days later, on April 24, Plaintiffs filed an ex parte application for
    22 issuance of notice of the PI Order to class members and to obtain information and
    23 documents from Defendants necessary to monitor compliance with that order
    24 (ECF 136). After a hearing, the Court granted the application on May 15, 2020
    25 (ECF 150). Among other things, that order took Defendants to task for twice
    26 ambushing Plaintiffs and the Court by filing new policy documents or declarations
    27 just hours before a hearing (at 4); undertaking a “lethargic” response to the COVID-
    28

         Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                         2
         Plaintiffs’ Opposition to Defendants’ Motion to Stay Discovery

     1
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 7 of 16 Page ID #:4595



     1 19 pandemic (at 5); continuing to “slow walk” their system-wide pandemic
     2 response (id.); exhibiting a “cavalier approach” to the PI Order (at 6); and
     3 responding in a manner that “has been lackadaisical and likely objectively
     4 deliberately indifferent” (id.).
     5           Then—again in no hurry—Defendants filed a notice of appeal 60 days after
     6 issuance of the PI and subclass certification orders, the very last day to do so
     7 (ECF 161). In the three months between then and their current motion for a stay of
     8 discovery, filed on September 17, 2020 (ECF 233), Defendants took no steps to
     9 stay any of the proceedings in this Court pending a determination of their appeal.
    10           Despite the Court’s April 20 and May 15 orders, Defendants failed to engage
    11 in a more robust response to the pandemic, and, on June 24, 2020, Plaintiffs filed a
    12 motion to enforce the PI Order (ECF 172-91). Following extensive briefing,
    13 multiple declarations, and two hearings, that motion remains under submission. In
    14 contrast to their belated motion to stay discovery, Defendants have not sought to
    15 stay enforcement of the PI Order, as they acknowledge at page 1 of their motion.
    16           Meanwhile, Plaintiffs have taken seriously the Court’s admonition that they
    17 proceed expeditiously with discovery. They served a first set of requests for
    18 production of documents (“RFPs”) on December 16, 2019 (ECF 233 Ex. 1) and a
    19 second set on August 10, 2020 (id. Ex. 2). On August 19, 2020, the Court issued its
    20 civil trial scheduling order directing, among other things, that all discovery
    21 (including the hearing of discovery motions) be completed by March 29, 2021,
    22 barely seven months later.
    23           On September 9, 2020, Magistrate Judge Kewalramani at Defendants’
    24 request held a telephonic conference with counsel regarding Plaintiffs’ second set
    25 of 109 RFPs, at which he proposed—and all counsel agreed—that Defendants
    26 respond to at least 27 unique RFPs on each of the following four Wednesdays,
    27 completing them by October 7, and that they produce responsive, non-protected
    28

         Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                       3
         Plaintiffs’ Opposition to Defendants’ Motion to Stay Discovery

     1
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 8 of 16 Page ID #:4596



     1 documents on a rolling basis beginning on September 30. He ordered compliance
     2 with that agreement on the same day (ECF 232).
     3                                        III. LEGAL STANDARD
     4           Defendants correctly note that the party moving for a stay of district court
     5 proceedings pending deposition of an interlocutory appeal “bears the burden of
     6 showing that the circumstances justify an exercise of that discretion” (ECF 233 at 4,
     7 citing Sierra Club v. Trump, 929 F.3d 670, 688 (9th Cir. 2019)). But they ignore
     8 the Court’s additional cautions in Sierra Club that (1) a stay is never available as a
     9 matter of right, even if irreparable injury might otherwise result; (2) a stay is an
    10 intrusion into the ordinary processes of administration and judicial review; (3) a
    11 stay is not to be issued reflexively, but rather based on the circumstances of the
    12 particular case; and (4) given the recent increase in emergency petitions asking for
    13 injunctive relief or stays of injunctive relief, it is “especially important” for courts
    14 to strive to follow the traditional process of judicial review rather than deciding
    15 “justice on the fly.” 929 F.3d at 687-88 (citing Nken v. Holder, 556 U.S. 418, 427,
    16 433-34 (2009)).1
    17           Defendants’ cases also make clear that the applicant for a stay pending
    18 appeal must make a “strong showing” that it is likely to succeed on the merits of the
    19 appeal and that irreparable injury is “likely” to occur absent a stay, rather than
    20 simply a “possibility.” See, e.g., East Bay Sanctuary Covenant v. Trump, 932 F.3d
    21 742, 770, 778 (9th Cir. 2018) (denying government’s motion to stay a TRO against
    22 agency rule and presidential proclamation making asylum unavailable to any alien
    23 who entered U.S. from Mexico outside a lawful port of entry).
    24
         1
         Defendants also ignore that the Court in Sierra Club was dealing with a motion
    25 for stay of a final order of permanent injunction against redeploying
       congressionally-appropriated funds to construction of a border wall and that it
    26 denied the stay application. Similarly, in Federal Trade Commission v. Qualcomm
       Inc., 935 F.3d 752 (9th Cir. 2019), the Court was dealing with a motion for stay of a
    27 final order of permanent injunction pending appeal. In contrast, interlocutory
       review of a preliminary injunction implicates reasons not to stay district court
    28 proceedings that are discussed in Section A below.

         Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                          4
         Plaintiffs’ Opposition to Defendants’ Motion to Stay Discovery

     1
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 9 of 16 Page ID #:4597



     1                                             IV. ARGUMENT
     2
         A.      THE NINTH CIRCUIT CONSISTENTLY DISFAVORS STAYS OF
     3           TRIAL COURT PROCEEDINGS PENDING INTERLOCUTORY
     4           APPEAL FROM PRELIMINARY INJUNCTION ORDERS
     5           The Ninth Circuit has “repeatedly admonished district courts not to delay
     6 trial preparation to await an interim ruling on a preliminary injunction.” California
     7 v. Azar, 911 F.3d 558, 583 (9th Cir. 2018) (citing Melendres v. Arpaio, 695 F.3d
     8 990, 1002-03 (9th Cir. 2012) and Global Horizons, Inc. v. U.S. Dept. of Labor, 510
     9 F.3d 1054, 1058 (9th Cir. 2007)). As the court said in Melendres, “[b]ecause of the
    10 limited scope of our review of the law applied by the district court and because the
    11 fully developed factual record may be materially different from that initially before
    12 the district court, our disposition of appeals from most preliminary injunctions may
    13 provide little guidance as to the appropriate disposition on the merits.” 695 F.3d at
    14 1003 (quoting Sports Form, Inc. v. United Press Int’l, Inc., 686 F.2d 750, 753 (9th
                   2
    15 Cir. 1982)).
    16           The court in Azar noted that even though the parties had stipulated to a stay
    17 pending the outcome of the PI appeal, “this case could have well proceeded to a
    18 disposition on the merits without the delay in processing the interlocutory appeal.”
    19 911 F.3d at 584 and n.8. And it cited its earlier opinion in Global Horizons, 510
    20 F.3d at 1058, for the proposition that, given the urgency of the issue presented in
    21 the case, even the government agency defendants “might have been better served to
    22 pursue aggressively” their defense in the district court “rather than apparently
    23 awaiting the outcome of this appeal.” Azar, 911 F.3d at 584 (internal quotations
    24 omitted).
    25           The Ninth Circuit’s repeated references to the lack of guidance an interim
    26
    27   Further in Melendres, the Ninth Circuit applauded the district court for “heed[ing]
         2
       our direction to proceed to trial and otherwise move towards a final judgment in
    28 this case without waiting for our interlocutory review.” 695 F.3d at 1003.

         Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                         5
         Plaintiffs’ Opposition to Defendants’ Motion to Stay Discovery

     1
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 10 of 16 Page ID
                                 #:4598


  1
      ruling on appeal from a preliminary injunction provides on the merits of a case are
  2
      even more apt in this case. The PI Order Defendants have appealed here relates
  3
      uniquely to the COVID-19 crisis and the dangers it poses for people confined at
  4
      ICE’s immigration detention centers. But the broader case to which Plaintiffs’
  5
      discovery relates was filed well before COVID-19 came to our shores and for that
  6
      obvious reason makes no mention of the virus; discovery in the broader case will be
  7
      entirely unaffected by an appellate ruling on the COVID-specific PI Order and
  8
      certification of provisional subclasses of people at risk from the virus.
  9
      B.      A RULING ON DEFENDANTS’ APPEAL OF THE PI AND
 10           SUBCLASS CERTIFICATION ORDERS WILL NOT IMPACT THE
 11           SCOPE OF DISCOVERY
 12           Defendants claim that “[t]he Ninth Circuit’s ruling on Defendants’ appeal
 13 will likely impact the scope of discovery” (ECF 233 at 5), but their argument cites
 14 no such impact. Instead, it is an attempt to dispute the Court’s provisional class
 15 certification and PI analysis (Id. at 5-7).
 16           As demonstrated in Section C below, Defendants’ attacks on the PI and
 17 subclass certification orders are baseless. Indeed, the certification order is not
 18 appealable at all. But even if Defendants could plausibly argue that either order
 19 should be reversed, the impact would be limited to the emergency relief the Court
 20 had ordered relating to the COVID-19 crisis. Defendants have not pointed to a
 21 single respect in which an appellate ruling regarding COVID-19 alone would
 22 impact resolution of the broader case that Plaintiffs filed prior to COVID-19.
 23           Nor can Defendants show how an appellate ruling on the COVID-19 orders
 24 would impact the proper scope of discovery in the broader case. They decry
 25 Plaintiffs’ second set of RFPs (ECF 233 Ex. 2) as “overly broad, largely
 26 duplicative, invasive and disproportionate to the needs of the case” (ECF 233 at 3).
 27 But they cannot deny that the RFPs do not mention COVID-19 at all, much less
 28 relate to issues that would disappear if either of the Court’s COVID-specific orders

      Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                       6
      Plaintiffs’ Opposition to Defendants’ Motion to Stay Discovery

  1
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 11 of 16 Page ID
                                 #:4599


  1
      were reversed on appeal. This case would continue to implicate the conditions in
  2
      which Defendants hold tens of thousands of people in approximately 158 detention
  3
      facilities across the United States. (See, e.g., Compl., ECF 1 ¶ 7.). Plaintiffs would
  4
      continue to seek discovery relevant to those conditions. Fundamentally, nothing
  5
      would change about either the proper scope of discovery or the appropriateness of
  6
      Plaintiffs’ RFPs.
  7
              If in fact any of the RFPs were overbroad or otherwise objectionable
  8
      (although even a quick review of Ex. 2 makes clear that they are not), Defendants
  9
      could object as in any other case. Indeed, having begun the process of responding
 10
      (as required by ECF 232) on September 16, Defendants served responses and
 11
      objections to requests no. 77-105. On September 23, they served responses and
 12
      objections to requests no. 16-22 and 106-25. By the time this motion is set to be
 13
      heard on October 19, Defendants should have completed (by October 7) the process
 14
      of serving responses to all of the RFPs in Plaintiffs’ second set. And they will have
 15
      begun their rolling production of documents by September 30, again as they agreed
 16
      and as Magistrate Judge Kewalramani ordered.
 17
              Defendants claim that a stay of discovery is in the public interest because
 18
      they “will oppose the discovery sought, which will require briefing by the parties
 19
      and decision by the Court on, among other things, the scope of discovery and the
 20
      applicability of various privileges” (ECF 233 at 11). Of course, Defendants’
 21
      blanket threat to “oppose the discovery sought” is no reason to stay discovery
 22
      entirely, thereby preventing unmeritorious objections from being scrutinized at all.
 23
      Moreover, because the resolution of the appeal will not narrow any issues in
 24
      discovery, a stay would not preserve any judicial resources. To the contrary, it
 25
      would place the Court in a more difficult position by simply delaying inevitable
 26
      discovery disputes and creating greater urgency to resolve them quickly in light of
 27
      the scheduling order in this case. Particularly where a ruling on the current appeal
 28

      Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                        7
      Plaintiffs’ Opposition to Defendants’ Motion to Stay Discovery

  1
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 12 of 16 Page ID
                                 #:4600


  1
      will have no bearing on the scope of discovery, the proffered justification for a stay
  2
      that “we will oppose the discovery” turns the Court’s interest in judicial economy
  3
      and the broader public interest on its head.
  4
      C.      DEFENDANTS HAVE NOT MET ANY OF THE REQUIREMENTS
  5           FOR A STAY PENDING APPEAL
  6           As Defendants correctly note (ECF 233 at 4), they bear the burden of making
  7 a strong showing that they are likely to succeed on the merits of their appeal and
  8 will be irreparably injured absent a stay. Their motion does not begin to carry their
  9 burden on either requirement.
 10       Regarding the propriety of the Court’s order certifying two emergency
 11 subclasses, Defendants say nothing beyond the failed arguments they made earlier.
 12 And they ignore not only that the certification order is non-appealable,3 but also
 13 that the Ninth Circuit earlier this month reaffirmed in Gonzalez v. ICE, Nos. 20-
 14 55175, 20-55252, 2020 WL 5494324, at *12 (9th Cir. Sept. 11, 2020), that
 15 commonality in a civil rights suit is satisfied “where the lawsuit challenges a
 16 system-wide practice or policy that affects all of the putative class members” and
 17 where, as here, ICE’s challenged policy was “the ‘glue’ that holds the class
 18 together,” id. at *12-13 (quoting Parsons v. Ryan, 754 F.3d 657, 678 (9th Cir.
 19 2014)). The Court in Gonzalez also rejected the same ICE challenges to typicality
 20 and adequacy that it made unsuccessfully here, explaining that the typicality inquiry
 21 focuses on the nature of the claim of the class representative, and not the specific
 22 facts from which it arose. Id. at *14.
 23           Regarding the PI Order, Defendants again re-hash the same arguments the
 24 Court rejected in that order. But even if those arguments sounded better the second
 25
    3
 26   See, e.g., Microsoft Corp. v. Baker, 137 S. Ct. 1702, 1709 (2017); Nutraceutical
    Corp. v. Lambert, 139 S. Ct. 710, 713 (2019) (to take an immediate appeal from a
 27 district court’s class certification order, a party must first seek permission from the
    court of appeals).
 28

      Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                      8
      Plaintiffs’ Opposition to Defendants’ Motion to Stay Discovery

  1
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 13 of 16 Page ID
                                 #:4601


  1
      time around, they would not weigh in favor of a stay of discovery because a
  2
      reversal of the PI Order would not, as shown above, impact the scope of discovery
  3
      at all.4
  4
                 For that same reason, Defendants cannot show that they will suffer
  5
      irreparable injury if discovery proceeds in the normal course toward the
  6
      March 2021 cut-off. They will already have completed their written responses to
  7
      Plaintiffs’ second set of RFPs when their stay motion is heard and will have begun
  8
      the rolling production of responsive documents.
  9
                 Defendants falsely assert that “Plaintiffs claimed in the Rule 26(f) report that
 10
      these initial rounds of discovery would be limited to class certification. ECF
 11
      No. 213 at 9” (ECF 233 at 9). What Plaintiffs in fact said in the joint report
 12
      (ECF 213 at 8-9) was quite the opposite:
 13
                          Plaintiffs expect to serve interrogatories and document
 14                       requests addressing Defendants’ common policies and
 15                       practices, including their oversight and enforcement
                          mechanisms with respect to conditions in their network
 16                       of detention facilities within the next month . . . While
 17                       much of these initial rounds of discovery will be relevant
                          to class certification, Plaintiffs prefer not to bifurcate
 18                       class and merits discovery, due to the overlap between
 19                       the evidence at issue regarding liability for Defendants’
                          oversight failures and the evidence relevant to class
 20                       certification.
 21              While denial of a discovery stay will not injure Defendants at all, granting
 22 one would severely prejudice Plaintiffs’ ability to complete discovery by the
 23
 24   4
       Defendants’ appeal of the PI and subclass certification orders is further
      undermined by the Ninth Circuit’s decision last week in Hernandez Roman v. Wolf,
 25   No. 20-cv-00768, 2020 WL 5683233 at *1, 4-7 (9th Cir. Sept. 23, 2020)
      (unpublished opinion, “published version . . . forthcoming”) (holding that district
 26   court did not abuse discretion by provisionally certifying class of all people
      detained at Adelanto and entering preliminary injunction where conditions in April
 27   violated due process right to reasonable safety, remanding for consideration of
      specific injunctive measures necessitated by recent COVID-19 outbreak at
 28   Adelanto).
      Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                           9
      Plaintiffs’ Opposition to Defendants’ Motion to Stay Discovery

  1
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 14 of 16 Page ID
                                 #:4602


  1
      March 2021 cut-off, given that Defendants have far greater access to and control
  2
      over relevant evidence in this case. And, while both sides may ultimately have
  3
      good reason to ask the Court for adjustments to the scheduling order, calling a halt
  4
      to discovery pending the PI appeal is not one of them. The only consequence of
  5
      delaying discovery as Defendants request would be prejudice to the interests of the
  6
      Court and Plaintiffs in reaching an efficient, timely, and fair resolution of the
  7
      serious and urgent issues raised in this case.
  8
              Recent reports of healthcare abuses at detention centers (see, e.g., Alderman
  9
      Decl. Ex. A), as well as last week’s majority staff report from the House Committee
 10
      on Homeland Security, “ICE Detention Facilities – Failing to Meet Basic Standards
 11
      of Care” (Id. Ex. B), and staff report from the House Committee on Oversight and
 12
      Reform, “The Trump Administration’s Mistreatment of Detained Immigrants:
 13
      Deaths and Deficient Medical Care by For-Profit Detention Contractors” (Id. Ex.
 14
      C), only amplify the urgency of addressing Defendants’ failures to meet their
 15
      obligations to people in their custody and care.
 16
      D.      THE LOOMING DISCOVERY CUT-OFF AND DEFENDANTS’
 17           DELAYS REQUIRE DENIAL OF THEIR MOTION FOR FURTHER
 18           DELAY
 19           In contrast to Plaintiffs’ efforts to move discovery along quickly and
 20 efficiently, Defendants have delayed at every turn. The March 2021 discovery
 21 cut-off, barely five months away at the time of hearing, cannot tolerate the further
 22 delay Defendants now seek.
 23           Defendants waited a full two months before appealing the April 20 orders,
 24 filing their notice on the last day of their 60-day window. As the Court has noted,
 25 they have slow-walked their response to the pandemic and now ask the Court to
 26 slow things down even more. They waited 17 days after meeting and conferring
 27 with Plaintiffs to file the current motion to stay discovery.
 28           In the meantime, Defendants’ lackadaisical pursuit of proceedings in this

      Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                     10
      Plaintiffs’ Opposition to Defendants’ Motion to Stay Discovery

  1
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 15 of 16 Page ID
                                 #:4603


  1
      Court belies any sense of urgency in seeking to bring discovery to a halt. As they
  2
      acknowledge, they have chosen not to seek a stay of the PI Order pending appeal.
  3
      Although their compliance has been less than exemplary, they are producing every
  4
      two weeks at least some of the documents required by the Court’s May 15 order.
  5
      Indeed, even as to the second set of RFPs that they say prompts their motion to
  6
      stay, they agreed with Magistrate Judge Kewalramani’s proposal to respond in four
  7
      weekly tranches, and they have now served their first two sets of responses. The
  8
      generous relief they obtained from his order (ECF 232) obviates entirely any need
  9
      for a blanket stay.
 10
              Defendants’ delay in appealing the PI Order, coupled with their delay in
 11
      seeking to stay all discovery, strongly suggests that their strategy is simply to delay
 12
      proceedings in this Court and prevent Plaintiffs from timely obtaining evidence
 13
      needed for trial, rather than to genuinely challenge the PI Order on appeal. Neither
 14
      their behavior nor their arguments justify the slow walk they ask the Court to grant
 15
      them.
 16
                                               V. CONCLUSION
 17
              For the reasons given above, the Court should deny Defendants’ motion to
 18
      stay discovery.
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

      Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                      11
      Plaintiffs’ Opposition to Defendants’ Motion to Stay Discovery

  1
Case 5:19-cv-01546-JGB-SHK Document 235 Filed 09/28/20 Page 16 of 16 Page ID
                                 #:4604


  1 DATED: September 28, 2020
  2
  3 Respectfully submitted,
  4
    /s/ Benjamin Salk                                            /s/ William F. Alderman
  5 Benjamin Salk                                                William F. Alderman
  6 Veronica Salama                                              Mark Mermelstein
    SOUTHERN POVERTY LAW                                         Jake Routhier
  7 CENTER                                                       ORRICK, HERRINGTON &
                                                                 SUTCLIFFE LLP
  8 /s/ Timothy P. Fox
    Timothy P. Fox                                               /s/ Michael W. Johnson
  9 Elizabeth Jordan                                             Michael W. Johnson
 10 Maria  del Pilar Gonzalez Morales
    CIVIL RIGHTS EDUCATION AND
                                                                 Leigh Coutoumanos
                                                                 Jessica Blanton
 11 ENFORCEMENT CENTER                                           Joseph Bretschneider
                                                                 Timothy Ryan
 12 /s/ Stuart Seaborn                                           WILLKIE FARR &
    Stuart Seaborn                                               GALLAGHER LLP
 13 Christina Brandt-Young
    Melissa Riess                                                /s/ Lisa Graybill
 14 Rosa Lee V. Bichell                                          Lisa Graybill
 15 DISABILITY
    ADVOCATES
                   RIGHTS                                        NATIONAL IMMIGRATION
                                                                 LAW CENTER
 16
      Attorneys for Plaintiffs
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

      Fraihat, et al., v. ICE, et al., Case No. 19-cv-01546-JGB(SHKx)                      12
      Plaintiffs’ Opposition to Defendants’ Motion to Stay Discovery

  1
